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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

  DAVID HOLMES,

         Plaintiff,

  v.                                                   CASE NO.: 9:11-cv-80450

  ZAKHEIM & ASSOCIATES, P.A.,

        Defendant.
  _____________________________________/

                                     NOTICE OF SETTLEMENT

         NOW COMES the Plaintiff, DAVID HOLMES, by and through the undersigned counsel

  and hereby informs the court that a settlement of the present matter has been reached and all

  parties to the present matter are currently in the process of executing the aforementioned

  settlement agreement, which Plaintiff anticipates will be completed within the next 30 days.

         Plaintiff therefore requests that this honorable Court vacate all dates currently set on

  calendar for the present matter.

                                                       RESPECTFULLY SUBMITTED,

                                                   By: /s/ Shireen Hormozdi
                                                      Shireen Hormozdi
                                                      Krohn & Moss, Ltd
                                                      10474 Santa Monica Blvd., Suite 401
                                                      Los Angeles, CA 90025
                                                      Phone: (323) 988-2400 ext. 267
                                                      Fax: (866) 802-0021
                                                      Attorney for Plaintiff
                                                      FBN: 0882461


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                                      NOTICE OF SETTLEMENT
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on October 3, 2011, I electronically filed the foregoing Notice of

  Settlement with the Clerk of the Court by using the CM/ECF System. A copy of said Notice was

  electronically submitted to all parties by the Court’s CM/ECF system.



                                                               /s/ Shireen Hormozdi
                                                               Shireen Hormozdi
                                                               Attorney for Plaintiff




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                                    NOTICE OF SETTLEMENT
